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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


JOSEPH LYNN HALLIDAY,
         Petitioner,

v.                                     CASE NO. 6:19-CV-1296-ORL-40EJK

SECRETARY, DEPARTMENT
OF CORRECTIONS AND ATTORNEY
GENERAL, STATE OF FLORIDA,
         Respondents.

__________________________________/


               NOTICE OF PENDENCY OF OTHER ACTIONS

       In accordance with Local Rule 1.04(d), I certify that the instant action:

     X IS          related to pending or closed civil or criminal case(s) previously

                   filed in this Court, or any other Federal or State court, or

                   administrative      agency      as    indicated     below:

                   Brevard County, Florida, Case no: 05-2013-CF-63830-A;

                   Florida Fifth District Court of Appeal case no’s: 5D15-1803

                   (direct appeal); and 5D18-3109 (summary denial appeal).

      IS NOT       related to any pending or closed civil or criminal case filed with

                    this Court, or any other Federal or State court, or administrative

                    agency.
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      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF

OTHER ACTIONS upon each party no later than fourteen days after appearance of

the party.

Dated: August 29, 2019

ASHLEY MOODY
ATTORNEY GENERAL

s/ Carmen F. Corrente
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COUNSEL FOR RESPONDENTS
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 29, 2019, I electronically filed the

foregoing document with the Clerk of Court using the CM/ECF system, which will

serve a copy to Robert David Malove, RDM@robertmalovelaw.com, Appellate

Counsel, 200 S. Andrews Avenue, Suite 100, Fort Lauderdale, FL 33301.

                                           s/ Carmen F. Corrente
                                           CARMEN F. CORRENTE
                                           Of Counsel
